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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) NO. 21-CR-00040 JD
                                                      )
14           Plaintiff,                               ) STIPULATION TO CONTINUE HEARING AND
                                                      ) [PROPOSED] ORDER
15      v.                                            )
                                                      )
16   NESSA MORA,                                      )
                                                      )
17           Defendant.                               )
                                                      )
18
19           A pretrial order bail review hearing is currently scheduled for Friday, November 12, 2021 at 9
20 a.m. before the Honorable Judge Hixson. Due to the unavailability of counsel, the parties request that

21 the hearing be continued to Tuesday, November 16, 2021 at 9 a.m. U.S. Pretrial Services does not

22 object to the continuance of this hearing. Ms. Mora respectfully requests that she be permitted to appear

23 by telephone rather than video since she will be at work. The undersigned Assistant United States

24 Attorney certifies that she has obtained approval from counsel for the defendant to file this stipulation

25 and proposed order.

26           IT IS SO STIPULATED.
27 DATED: November 9, 2021                                         /s/                  ___
                                                          ANNE C. HSIEH
28                                                        Assistant United States Attorney

     STIPULATION TO CONTINUE HEARING
     Case No. 21-CR-00040 JD                                                                    v. 7/10/2018
              Case 3:21-cr-00040-JD Document 59 Filed 11/10/21 Page 2 of 2




 1
     DATED: November 9, 2021                                    /s/                ___
 2                                                     DAVID RIZK
                                                       Counsel for Defendant Nessa Mora
 3

 4                                         [PROPOSED] ORDER

 5         The pretrial order bail review hearing currently scheduled for Friday, November 12, 2021 at 9

 6 a.m., shall be continued to Tuesday, November 16, 2021 at 9 a.m.

 7         IT IS SO ORDERED.

 8

 9 DATED: ___________________
           November 10, 2021                                  ___________________________
                                                              HON. THOMAS S. HIXSON
10                                                            United States Magistrate Judge

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     STIPULATION TO CONTINUE HEARING
     Case No. 21-CR-00040 JD                                                                v. 7/10/2018
